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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

EDUCATIONAL CREDIT                               §
MANAGEMENT CORPORATION,                          §
                                                 §
               Plaintiff,                        §          CIVIL ACTION NO.:
                                                 §
vs.                                              §          2:19-cv-00186
                                                 §
MARSHALL SNF LLC d/b/a                           §
MARSHALL MANOR WEST,                             §
                                                 §
               Defendant.                        §


                             PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, EDUCATIONAL CREDIT MANAGEMENT CORPORATION (“Plaintiff”),

seeking relief against MARSHALL SNF LLC d/b/a MARSHALL MANOR WEST

(“Defendant”), as follows:

                                           PARTIES

       1.      Plaintiff is a private, non-profit Minnesota corporation and guaranty agency and,

pursuant to 20 U.S.C. § 1095a and 34 C.F.R. § 682.410 (b)(9), has the authority to pursue this

lawsuit.

       2.      Defendant is a Texas limited liability company, registered to do business in Texas

and may be served with process through its registered agent, Linda Benson at 1006 S. Washington

Ave. Marshall, Texas 75670.

                                       JURISDICTION

       3.      This Court has jurisdiction to hear this Complaint pursuant to 28 U.S.C. § 1331, as

a civil action arising under 20 U.S.C. § 1095a(a)(6) and 34 C.F.R. § 682.410(b)(9)(i)(P).




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                                             VENUE

       4.      Because the Defendant is a business residing in Harrison County, Texas, venue for

this action is proper in the Eastern District of Texas, pursuant to 28 U.S.C. § 1391(c).

                                  FACTUAL ALLEGATIONS

       5.      Under Title IV, Part B, of the Higher Education Act of 1965 (HEA), Congress

enacted a program in which the federal government encouraged the making of loans by private

lenders to finance eligible students’ post-secondary education. See 20 U.S.C. §§ 1071(a), 1085(d).

The federal government encourages the making of these loans by having the U.S. Secretary of

Education pay part of the student’s interest and costs and guaranteeing repayment of the loan if

the student defaults. See 20 U.S.C. § 1078(a),(c). This program is presently known as the Federal

Family Education Loan Program (FFELP).

       6.      To assist the Secretary in implementing and operating the FFELP, the HEA

provides that the Secretary may enter into agreements with guaranty agencies. See 20 U.S.C.

§1085(j). A guaranty agency guarantees payment of a loan made by an eligible lender and pays

the holder of the loan if the student defaults. The Secretary thereafter reimburses the guaranty

agency for all or part of these payments under a re-insurance agreement with the agency. See 20

U.S.C. § 1078(c). Guaranty agencies also receive funds to administer the FFELP on behalf of the

Secretary, including collecting defaulted student loans for which the guaranty agency has paid the

holder and received reimbursement from the Secretary. See 20 U.S.C. § 1078(c)(2). When a

guaranty agency collects money on a defaulted student loan, it sends the majority of the money to

the Secretary and retains a portion to defray costs of collection. See 20 U.S.C. § 1078(c)(2)(D).

       7.      To assist the Secretary and the guaranty agencies in collecting defaulted student

loans, Congress gave guaranty agencies the authority to administratively issue orders to defaulted




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borrowers’ employers requiring them to withhold up to fifteen percent (15%) of the disposable

income of these borrowers. See 20 U.S.C. § 1095a. This section explicitly preempts state laws

and sets forth procedures for providing students with due process, including prior notice of the

agency’s intent to withhold, a hearing if requested, and the issuance of a Withholding Order. See

20 U.S.C. § 1095a(a), (b); 34 C.F.R. § 682.410(b)(9). This section also provides that guaranty

agencies may sue employers who do not deduct and pay over as directed in the Withholding Order.

See 20 U.S.C. § 1095(a)(6); 34 C.F.R. § 682.410(b)(9)(i)(P).

       8.     Plaintiff is a guaranty agency under the FFELP.

       9.     Emma Phillips (“Borrower") owes a student loan debt to Plaintiff that is in default.

       10.    Borrower is employed by the Defendant.

       11.    As Borrower’s employer, Defendant pays wages to Borrower.

       12.    On February 7, 2017, Plaintiff served Borrower with the required thirty (30) day

Notice Prior To Wage Withholding. A true and correct copy of the Notice is attached as Exhibit

A.

       13.    Because no hearing was requested under 20 U.S.C. § 1095a(a)(5)(b), Plaintiff

issued a Withholding Order to Marshaee Manor Nursing Home (sic) (“Marshall Manor Nursing

Home”) on March 14, 2017. A true and correct copy of the Withholding Order is attached as

Exhibit B.

       14.    Plaintiff was then informed by Marshall Manor Nursing Home that Borrower was

employed by Defendant. See the highlighted portions of the Collectors Notes, a true and correct

copy of which are attached hereto as Exhibit C. Plaintiff was told that Defendant was owned by

the same parent company as Marshall Manor Nursing Home. Id. On June 16, 2017, Plaintiff was

told that Marshall Manor Nursing Home faxed the Withholding Order to Defendant. Id. Defendant




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then acknowledged the Withholding Order and informed Plaintiff that the Order will be forwarded

to corporate and Defendant will comply. Defendant began to comply.

         15.   Following a payment on July 17, 2018, Defendant stopped complying with the

Withholding Order without any explanation.

         16.   No representative or officer of the Defendant contacted Plaintiff regarding the

Withholding Order, and Defendant did not further remit any of the Borrower’s wages in

accordance with the Withholding Order. Therefore, Plaintiff mailed Defendant a Second Notice

of Employer Non-Compliance on September 2, 2018, requesting compliance with the Withholding

Order.    A true and correct copy of the Second Notice is attached as Exhibit D. Plaintiff

subsequently spoke with Defendant on October 17, 2018 requesting compliance to the

Withholding Order.

         17.   On October 30, 2018, Plaintiff sent Defendant a demand letter further requesting

compliance with the Withholding Order. A true and correct copy of the letter is attached as Exhibit

E. This letter was inadvertently mailed to one of Defendant’s affiliates.

         18.   It was not until March 25, 2019, that Defendant resumed compliance with the

Withholding Order.

         19.   While Defendant has made attempts to start complying with the Withholding Order,

it still has refused to remit the back-wages Plaintiff is entitled to receive as well as Plaintiff’s

attorney’s fees and costs.

         20.   Plaintiff seeks to have Defendant remit the $2,240.00 in back-wages Defendant

failed to withhold from Borrower.

         21.   Plaintiff seeks to recover of and from Defendant, reasonable attorney’s fees,

interest, as allowed by law, and cost of court incurred pursuing this matter.




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              FIRST CAUSE OF ACTION: VIOLATION OF 20 U.S.C. § 1095a

       22.     Based on the foregoing, Defendant is in violation of 20 U.S.C. § 1095a, which

provides that guaranty agencies, such as Plaintiff, may administratively garnish up to fifteen

percent (15%) of the disposable earnings of defaulted student loan borrowers by issuing a

Withholding Order to the borrower’s employer.

       23.     Because Defendant has failed to comply with the Withholding Order, Defendant,

pursuant to 20 U.S.C. § 1095a(a)(6), is liable for any and all amounts it failed to withhold following

receipt of the Withholding Order.

       24.     The amount due to Plaintiff is fifteen percent (15%) of Borrower’s disposable

earnings, or such lesser amount, as required by 15 U.S.C. § 1673, from the date of Defendant’s

receipt of the Withholding Order to the date Borrower ceases to be employed by Defendant or the

date this court enters judgment.

       25.     Pursuant to 20 U.S.C. § 1095a(a)(6), Plaintiff is entitled to its’ attorneys’ fees and

costs associated with pursuing this action and, in the court’s discretion, punitive damages.

WHEREFORE, Plaintiff respectfully requests this Court grant Plaintiff:

       1.      Damages in the amount that Defendant should have withheld from Borrower’s

               wages;

       2.      Attorneys’ fees and costs;

       3.      Punitive damages;

       4.      Pre and post-judgment interest on this amount, as allowed by law; and,

       5.      Such other relief as the Court deems appropriate.




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Dated: May 23, 2019.                      AKERLY LAW PLLC

                                          By:   /s/ Bruce W. Akerly
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